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15
                                UNITED STATES DISTRICT COURT
16
                  NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
17
18
      JAMAL RASHID TRULOVE,                           Case No. 16-cv-00050-YGR
19
             Plaintiff,                               JUDGMENT ON VERDICT
20
                     vs.
21
      MAUREEN D’AMICO, MICHAEL
22
      JOHNSON, ET AL.,
23
             Defendants.
24
            This action came on for trial on March 12, 2018, in Courtroom 1 of the United States
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26   District Court, Northern District of California, Oakland Division, Honorable Yvonne Gonzalez

27   Rogers, presiding. The Plaintiff in this case, No. CV 16-00050-YGR, Jamal Rashid Trulove, was
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     represented by Nick Brustin, Anna Benvenutti Hoffmann, Meghna Philip, Alex Reisman, and
 1
 2   Kate Chatfield. Defendants Maureen D’Amico, Michael Johnson, John Evans, and Robert

 3   McMillan, were represented by the San Francisco City Attorney’s office, through Deputy City
 4
     Attorneys Margaret Baumgartner, Kelly Collins, and Renee Rosenblit.
 5
            Witnesses were sworn and testified. After hearing the evidence, the jury was instructed
 6
 7   by the Court and the case was submitted to the jury. Eight sworn jurors deliberated. The issues

 8   having been duly tried and the jury having duly rendered its verdict for plaintiff and against
 9   Defendants Michael Johnson and Maureen D’Amico only ([Dkt 523]:
10
            IT IS ORDERED that Plaintiff Jamal Rashid Trulove shall recover the sum of
11
     $10,000,000.00 from Maureen D’Amico and Michael Johnson, plus post-judgment interest,
12
13   costs, and attorney’s fees as provided by law. Plaintiff shall file any application for costs or

14   attorneys’ fees by May 14, 2018. Defendants shall respond by June 1, 2018, and Plaintiff shall
15   reply by June 8, 2018.
16
            IT IS ALSO ORDERED that Plaintiff shall take nothing from Defendants John Evans
17
     and Robert McMillan. Defendants Evans and McMillan contend that they are entitled to costs,
18
19   and shall file an application for costs per statutory deadlines.

20           April 19, 2018
     DATED: _______________                                 _______________________________
                                                            Honorable Yvonne Gonzalez Rogers
21
                                                            United States District Court
22
23   APPROVED AS TO FORM:
24
     By: /s/ Margaret W. Baumgartner
25   Margaret W. Baumgartner, Attorney for Defendants

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